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  9
                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
 10                             COUNTY OF SAN DIEGO
 11
 12        Chris Langer,                          Case No.
 13               Plaintiff,
                                                  UNLIMITED CIVIL CASE
 14          v.
 15
                                                  Complaint for Damages and
                                                  Injunctive Relief for Violations
 16        Roya Nikzad PHD Allergy &              of: Unruh Civil Rights Act and
           Acupuncture, a Professional            Unfair Competition Law.
 17        Corporation; and Does 1-10,
 18               Defendant,                      NOT RELATING TO A
 19                                               CONSTRUCTION-RELATED
 20                                               BARRIER AS DEFINED IN
                                                  CAL. CIV. CODE § 55.3
 21
 22     Plaintiff Chris Langer (“Plaintiff”) complains Roya Nikzad PHD Allergy &
 23   Acupuncture, a Professional Corporation; and Does 1-10 (“Defendant”), and
 24   alleges as follows:
 25
 26     PARTIES:
 27     1. Plaintiff is a disabled individual and a member of a protected class of
 28   persons under the Americans with Disabilities Act. Plaintiff is hard of hearing


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  1   and needs closed captioning to consume audio content such as movies, videos
  2   or tutorials. Plaintiff is a California resident.
  3     2. Defendant Roya Nikzad PHD Allergy & Acupuncture, a Professional
  4   Corporation (“Roya Nikzad PHD Allergy & Acupuncture and/or Clinic) owned
  5   or operated Roya Nikzad PHD Allergy & Acupuncture located in the County of
  6   San Diego, in August 2022.
  7     3. Defendant Roya Nikzad PHD Allergy & Acupuncture owns or operates
  8   Roya Nikzad PHD Allergy & Acupuncture located in the County of San Diego
  9   County currently.
 10     4. Defendant Roya Nikzad PHD Allergy & Acupuncture owned or
 11   operated Roya Nikzad PHD Allergy & Acupuncture website, with a root
 12   domain of: https://createwellnesslajolla.com/, and all related domains, sub-
 13   domains and/or content contained within it, (“Website”) in August 2022.
 14     5. Defendant Roya Nikzad PHD Allergy & Acupuncture owns or operates
 15   the Website currently.
 16     6. Plaintiff does not know the true names of Defendants, their business
 17   capacities, their ownership connection to the property and business, or their
 18   relative responsibilities in causing the access violations herein complained of,
 19   and alleges a joint venture and common enterprise by all such Defendants.
 20   Plaintiff is informed and believes that each of the Defendants herein,
 21   including Does 1 through 10, inclusive, is responsible in some capacity for the
 22   events herein alleged, or is a necessary party for obtaining appropriate relief.
 23   Plaintiff will seek leave to amend when the true names, capacities,
 24   connections, and responsibilities of the Defendants and Does 1 through 10,
 25   inclusive, are ascertained.
 26
 27   JURISDICTION & VENUE:
 28     7. This Court has subject matter jurisdiction over this action as a court of


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  1   general jurisdiction. This Court has personal jurisdiction over Defendants
  2   because they conduct substantial business in the State of California, County of
  3   San Diego, and Defendants offending Website is available throughout
  4   California.
  5     8. Venue is proper in this Court because Defendant conducts business in
  6   this County.
  7     9. Unlimited jurisdiction is proper because Plaintiff seeks a permanent
  8   injunction ordering compliance with the Americans with Disabilities Act.
  9
 10     PRELIMINARY STATEMENT:
 11     10. This is a lawsuit challenging the accessibility of a website that provides
 12   benefits to customers of a place of public accommodation. All places of public
 13   accommodation must ensure full and equal access to all accommodations,
 14   advantages, facilities, privileges, goods, or services (“Benefits”) offered by
 15   that place of public accommodation.
 16     11. Websites are increasingly the most important benefit offered by
 17   businesses. The website is the primary conduit of and to commerce by public
 18   facing businesses, providing information about the services and goods
 19   provided at physical locations, as well as pricing and location information. For
 20   many businesses, the website is an entire alternative accommodation allowing
 21   a person the ability to patronize the business entirely from home.
 22     12. However, the Department of Justice has recognized that the ways
 23   “websites are designed and set up can create unnecessary barriers that make
 24   it difficult or impossible for people with disability to use websites.” United
 25   States Department of Justice, Guidance of Web Accessibility and the ADA
 26   (August 18, 2022). This non-compliance “keep people with disabilities from
 27   accessing information and programs that businesses…make available to the
 28   public online.” Id.


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  1     13. The DOJ has stated that these “barriers can be prevented or removed so
  2   that websites are accessible to people with disabilities.” Id. Further, the DOJ
  3   asserts that all businesses open to the public must ensure that all of the ADA’s
  4   equal access requirements apply to business websites. Id.
  5
  6     FACTUAL ALLEGATIONS:
  7     14. Plaintiff is hard of hearing and is a member of a protected class under
  8   the ADA.
  9     15. Plaintiff relies on subtitles and closed captioning to consume audio in
 10   recorded content.
 11     16. Roya Nikzad PHD Allergy & Acupuncture offers privileges, advantages,
 12   accommodations, facilities, goods, or services (“Benefits”) to the public out
 13   place of public accommodation in California as defined by the ADA. These
 14   benefits are generally available for public use.
 15     17. The Website is one of the Benefits offered to customers and is a nexus
 16   between Roya Nikzad PHD Allergy & Acupuncture, a Professional
 17   Corporation customer and the physical place of public accommodation. The
 18   information on the website alone is a covered Benefit, allowing patrons to
 19   learn about goods and services as well as the business itself without leaving
 20   their home.
 21     18. Plaintiff visited the Website with intent to partake in the Benefits of the
 22   place of public accommodation offered through the Website while confirming
 23   the accessibility of the Benefits offered by the Website and Roya Nikzad PHD
 24   Allergy & Acupuncture.
 25     19. Among the benefits offered include details about Roya Nikzad PHD
 26   Allergy & Acupuncture itself, location and contact information; information
 27   about the prices, online bookings/appointments, deals and promotions.
 28     20. Plaintiff visited the Website on or about August 2022 to look for


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  1   information about the Roya Nikzad PHD Allergy & Acupuncture and Knee
  2   stem cell therapy clinic in San Diego and the scope of its services and work.
  3     21. When Plaintiff attempted to view video content on the Website, he
  4   discovered that the videos lacked closed captioning, which made him unable
  5   to fully understand and consume the contents of the videos.
  6     22. Plaintiff was denied full and equal access to the audio components of
  7   the video: “About Us”; “Brain Fog and insomnia NEAT treatment - Stephanie
  8   P.”. As a result of this inaccessibility, he was unable to understand the content
  9   was deterred from further use of the Website.
 10     23. Plaintiff asserts that any customer facing aspect of the Website,
 11   including videos were placed there intentionally and for a rational purpose.
 12   Those videos provide value independently as a separate benefit and failure to
 13   provide closed captioning provides an inherently disparate and unequal
 14   experience to disabled customers.
 15     24. Currently, the Defendant either fail to provide an accessible website or
 16   Defendant have failed to maintain in working and useable conditions those
 17   website features required to provide ready access to persons with disabilities.
 18     25. Despite multiple attempts to access the Website using Plaintiff’s
 19   electronic device, Plaintiff has been denied the full use and enjoyment of the
 20   facilities, goods and services offered by the Defendants as a result of the
 21   accessibility barriers on the website.
 22     26. Plaintiff personally encountered accessibility barriers and has actual
 23   knowledge of them.
 24     27. Plaintiff has been deterred from returning to the Website or further
 25   interest in the benefits of the physical place of public accommodation as a
 26   result of these prior experiences.
 27     28. By failing to provide an accessible website, the Defendants denied
 28   Plaintiff full and equal access to the benefits offered to their customers.


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  1      29. If the website had been constructed equally accessible to all individuals,
  2   Plaintiff would have been able to navigate the website and find information on
  3   the Roya Nikzad PHD Allergy & Acupuncture and its services.
  4      30. Plaintiff is a tester in this litigation and seeks future compliance with all
  5   federal and state accessibility laws. Plaintiff will return to the Website to avail
  6   himself of its benefits and to determine compliance with the disability access
  7   laws once it is represented to him that Roya Nikzad PHD Allergy &
  8   Acupuncture and Website are accessible.
  9      31. Plaintiff is currently deterred from doing so because of Plaintiff’s
 10   knowledge of the existing barriers and uncertainty about the existence of yet
 11   other barriers on the Website. If the barriers are not removed, Plaintiff will
 12   face unlawful and discriminatory barriers again.
 13      32. Compliance with W3C Web Content Accessibility Guidelines
 14   (“WCAG”) 2.0 AA standards is a viable remedy for these deficiencies and a
 15   standard that has been recommended by the United States Department of
 16   Justice and adopted by California courts for website accessibility.
 17      33. The industry standards for website design are well-known and
 18   established. The Website was intentionally designed, and based on
 19   information and belief, it is the Defendants’ policy and practice to deny
 20   Plaintiff access to the Website, and as a result, denies the goods and services
 21   that are otherwise available to patrons of Roya Nikzad PHD Allergy &
 22   Acupuncture.
 23      34. Closed captioning can be provided at little cost, sometimes free or mere
 24   dollars per minute of video content.
 25      35. Closed captioning is supported by numerous third-party hosting
 26   companies, including the one chosen by Defendants, and can be provided at
 27   little cost, sometimes free or mere dollars per minute of video content.
 28      36. Closed captioning is a readily expected accommodation for audio


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  1   information contained within video content and is required by industry
  2   guidelines. Further, captioning can be provided at little cost, sometimes free
  3   or mere dollars per minute of video content.
  4      37. Given the prevalence of websites that have implemented these
  5   standards and created accessible websites, it is readily achievable to construct
  6   an accessible website without undue burden on Roya Nikzad PHD Allergy &
  7   Acupuncture or a fundamental alteration of the purpose of the Website.
  8      38. Due to the failure to construct and operate the website in line with
  9   industry standards, Plaintiff has been denied equal access to Defendant’s Roya
 10   Nikzad PHD Allergy & Acupuncture and the various services, privileges,
 11   opportunities and benefits offered to the public by Roya Nikzad PHD Allergy
 12   & Acupuncture
 13      39. Given the nature of the barriers and violations alleged herein, the
 14   Plaintiff alleges, on information and belief, that there are other violations and
 15   barriers on the website, and/or at Roya Nikzad PHD Allergy & Acupuncture,
 16   that relate to Plaintiff’s disability. In addition to the barriers personally
 17   encountered, Plaintiff intends to seek removal of all accessibility barriers on
 18   the Website. See Doran v. 7-Eleven, 524 F.3d 1034 (9th Cir. 2008) (holding
 19   that once a plaintiff encounters one barrier, they can sue to have all barriers
 20   that relate to their disability removed).
 21      40. Plaintiff will amend the complaint, to provide further notice regarding
 22   the scope of the additional demanded remediation in the event additional
 23   barriers are uncovered through discovery. However, please be on notice that
 24   Plaintiff seeks to have all non-compliance remedied.
 25      41. As the ADA has existed since 1990, and the facility is still non-
 26   compliant, Plaintiff alleges the above conditions are the result of either a policy
 27   failure or systematic negligence such that only regular audits of the facility
 28   architecture and policies will ensure future compliance.


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  1      42. Plaintiff is currently deterred from returning to the clinic due to
  2   knowledge of the existing barriers and uncertainty about the existence of yet
  3   other barriers on the site. If the barriers are not removed, the plaintiff will face
  4   unlawful and discriminatory barriers again. Plaintiff will return to the clinic
  5   after the conclusion of the case to avail herself of its benefits and to confirm
  6   compliance with the disability access laws once it is represented that the clinic
  7   and its facilities are accessible.
  8      43. At the conclusion of this suit and after being informed that the barriers
  9   complained of have been removed, in furtherance of Plaintiff’s tester
 10   motivations, Plaintiff intends to return to the business to confirm accessibility
 11   of the above conditions.
 12
 13   I. FIRST CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 14   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
 15   Code § 51-53.)
 16      44. Plaintiff repleads and incorporates by reference, as if fully set forth
 17   again herein, the allegations contained in all prior paragraphs of this
 18   complaint.
 19      45. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia, that
 20   persons with disabilities are entitled to full and equal accommodations,
 21   advantages, facilities, privileges, or services in all business establishment of
 22   every kind whatsoever within the jurisdiction of the State of California. Cal.
 23   Civ. Code §51(b).
 24      46. The Unruh Act provides that a violation of the ADA is a violation of the
 25   Unruh Act. Cal. Civ. Code § 51(f).
 26      47. Both the ADA and through 51(f) the Unruh Act, provide for
 27   associational standing, i.e., persons who have a relationship or are known to
 28   associate with persons with disabilities can assert their right to be free from


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  1   discrimination under the ADA, including the right to equal access. 42 U.S.C. §
  2   12182(b)(1)(E).
  3      48. Plaintiff is an individual with a disability protected by federal and state
  4   anti-discrimination laws.
  5      49. Plaintiff has been denied full and equal access to the use of the business.
  6      50. Defendants’ acts and omissions, as herein alleged, have violated the
  7   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
  8   rights to full and equal use of the accommodations, advantages, facilities,
  9   privileges, goods, or services offered.
 10      51. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
 11   discomfort or embarrassment for the plaintiff, the defendants are also each
 12   responsible for statutory damages, i.e., a civil penalty. Cal. Civ. Code. § 52(a);
 13   Cal. Civ. Code § 55.56(a)-(c).
 14
 15   II. SECOND CAUSE OF ACTION: VIOLATION OF THE CALIFORNIA
 16   DISABLED PERSONS ACT (On behalf of Plaintiff and against all
 17   Defendants.) Cal. Civ. Code § 54.1.
 18      52. Plaintiff repleads and incorporates by reference, as if fully set forth
 19   again herein, the allegations contained in all prior paragraphs of this
 20   complaint. The California Disabled Persons Act (“CDPA”) guarantees, inter
 21   alia, that persons with disabilities are entitled to full and equal
 22   accommodations, advantages, facilities, privileges, or services in all business
 23   establishments of every kind whatsoever within the jurisdiction of the State of
 24   California. Cal. Civ. Code § 54.1.
 25      53. The CDPA provides that any violation of the ADA is a violation of the
 26   Unruh Act. Cal. Civ. Code, § 54.1(d).
 27      54. Defendants’ acts and omissions, as herein alleged, have violated the
 28   CDPA by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s


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   1   rights to full and equal use of the accommodations, advantages, facilities,
   2   privileges, or services offered.
   3     55. Because the violation of the ADA resulted in a denial of full and equal
   4   access to the plaintiff, the defendants are also each responsible for statutory
   5   damages, i.e., a civil penalty. Cal. Civ. Code § 54.3.
   6
   7     PRAYER:
   8            Wherefore, Plaintiff prays that this Court award damages and provide
   9   relief as follows:
  10       1. For injunctive relief, compelling Defendants to modify their Website to
  11   comply with WCAG 2.0 or high compliance. WCAG 2.0 compliance is
  12   recognized by the Department of Justice, the California Courts and the Ninth
  13   Circuit as a valid remedy for a denial of full and equal access.
  14       2. For injunctive relief compelling Defendants to regularly assess their
  15   Website for ADA and/or WCAG 2.0+ compliance on an on-going basis due to
  16   the ready nature of websites allowing changes to occur on a constant basis that
  17   could result in a denial of full and equal access.
  18       3. For injunctive relief requiring that all future audio-visual content be
  19   required to be closed captioned at the time it is uploaded or hosted for public
  20   view, and that the content be human-verified as having functional and
  21   accurate captions in the language spoken in the video to 95% accuracy. Any
  22   third-party maintained audio-visual content embedded in the Website which
  23   cannot be provided with captions shall have a transcript provided alongside the
  24   video.
  25       4. For injunctive relief requiring implementation of accessibility policies
  26   and requiring annual employee training on providing full and equal access to
  27   clients or customers with disabilities.
  28


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   1       5. Further injunctive relief mandating no less than annual review of the
   2   Website to ensure accessibility for all public facing webpages.
   3       6. Damages under the Unruh Civil Rights Act or California Disabled
   4   Persons Act, which provide for up to treble actual damages and a statutory
   5   minimum of $4,000 or $1,000 respectively per violation of each Act. While
   6   Plaintiff may prevail on each act individually, Plaintiff only seeks monetary
   7   recovery under whichever act results in the greatest damages, to be
   8   determined at trial.
   9       7. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
  10   to 42 U.S.C. § 12205; and Cal. Civ. Code § 52.
  11
  12
  13
       Dated: September 24, 2022              CENTER FOR DISABILITY ACCESS
  14
  15
  16                                          By: _______________________
  17
                                              Mark Potter, Esq.
  18                                          Attorney for Plaintiff
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